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                             UNITED STATES DISTRICT COURT
                             WESTERN DISTRICT OF LOUISIANA
                                LAKE CHARLES DIVISION


  SANDY BRICK, ET AL                                  NO. 2:21-CV-04386
  VERSUS                                              JUDGE TERRY A. DOUGHTY
  JOSEPH R. BIDEN, ET AL                              MAG. JUDGE KATHLEEN KAY
                                    MEMORANDUM ORDER

         A Complaint for Declaratory and Injunctive Relief [Doc. No. 1] was filed by Plaintiffs

  Sandy Brick (“Brick”), a resident of Louisiana, and Jessica Trenn (“Trenn”), a resident of Ohio

  on December 22, 2021. An unopposed Motion to Consolidate [Doc. No. 12] is pending. Per the

  Notice Regarding Administrative Record [Doc. No. 21], the Government Defendants do not

  oppose the pending Motion to Consolidate.

         Because the pending Motion to Consolidate [Doc. No. 12] is unopposed, and because it

  appears to this Court that both cases involve common questions of law and fact in accordance

  with Federal Rule of Civil Procedure 42(a),

         IT IS ORDERED that the cases of State of Louisiana, et al v. Xavier Becerra, et al, Case

  No. 3:21-cv-04370 and Sandy Brick, et al v. Joseph R. Biden, et al, Case No. 2:21-cv-04386 are

  ordered CONSOLIDATED in accordance with Federal Rule of Civil Procedure 42(a). Case

  No. 3:21-cv-4370 shall be the lead case.

         IT IS FURTHER ORDERED that the pending Motion for Discovery of the Complete

  Administrative Record [Doc. No. 29] is DENIED as moot as a similar motion has previously

  been ruled on by the Court in the lead case.

         IT IS FURTHER ORDERED that in accordance with the Memorandum Order [Doc.

  No. 76] filed on May 16, 2022, in Case No. 3:21-cv-04370, after Government Defendants file the
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  completed Administrative Record, Brick and Trenn shall have twenty-one (21) days to respond

  to Government Defendants’ two pending motions: (1) Defendants’ Motion to Dismiss, or in the

  Alternative, Motion for Summary Judgment [Doc. No. 24]; and (2) Defendants’ Motion for

  Dismiss, or in the Alternative, Motion for Summary Judgment [Doc. No. 35], both filed in Case

  No. 2:21-cv-04386.

         IT IS FURTHER ORDERED that Government Defendants shall have fourteen (14)

  days after Brick and Trenn’s response to file a reply.

         MONROE, LOUISIANA this 23rd day of May 2022.



                                                       ___________________________________
                                                       TERRY A. DOUGHTY
                                                       UNITED STATES DISTRICT JUDGE




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